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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION
In re:                                                          Case No.: 3:22-bk-01926-JAB

ALL FLORIDA SAFETY INSTITUTE, LLC                                Chapter 11
          Debtor.


                     CHAPTER 11 CASE MANAGEMENT SUMMARY

        ALL FLORIDA SAFETY INSTITUTE, LLC (the “Debtor”), pursuant to Local Rule
2081-1, hereby files this Chapter 11 Case Management Summary (the “Summary”). In support
of this Summary, the Debtor would show:
                                      INTRODUCTION

       The Debtor filed his petition for relief under Chapter 11 of the United States Bankruptcy
Code (“Bankruptcy Code”) on September 22, 2022 (the “Petition Date”). An order for relief was
entered for the Debtor as a Chapter 11 Debtor in Possession. There has not been a SubChapter V
Chapter 11 Trustee appointed as of the date of this Summary.

                               CASE MANAGEMENT ITEMS

I.       Description of the Debtor’s Business

        The Debtor is the operator of a driver education business which operates throughout the
State of Florida. Additionally, the Debtor operates a used car sales facility called Florida Auto
Exchange for sales and purchases of vehicles utilized in the driver education business. The
Debtor’sbusiness was started in 2015 by Mark and Janette Allen and has continuously operated
since that time. The Debtor has rapidly expanded and now operates close to thirty (30) locations
throughout the State of Florida.

        During 2020-2021 as a result of shutdowns of DMV and related facilities due to COVID-
19 related issues, the Debtor’s revenue began to substantially decline. Fiscal Year 2020 saw an
approximate 50% reduction in income. The Debtor began a series of merchant cash advance
loans secured by receivables and deducted on a daily basis. This severely disrupted cash flow of
the Debtor and caused the Debtor to become delinquent to the unsecured creditors in the amount
of approximately $1,800,000.00.

        As of August of 2022, the Debtor defaulted on numerous MCA and supplier loans.
However, the Debtor felt that the income would significantly increase in the short term and allow
a successful reorganization for all secured, priority and unsecured debts. Multiple creditors filed
suit in New York to collect on past due obligations owed by the Debtor. This Chapter 11
followed in order to restructure the existing secured debt, unsecured debt and other priority
claims.
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        A search of the Florida UCC registry reveals the following entities alleging a security
interest in the Debtor’s Property:
                   Entity                   Collateral         Date of First      Status of
                                          Encumbered              Filing            Loan
    U.S. SMALL BUSINESS                All assets owned      5/27/2020           Outstanding
    ADMINISTRATION                     and/or acquired,
    2 NORTH STREET, SUITE 320          including
    BIRMINGHAM AL 35203                receivables
    WESTLAKE FLOORING                  Floor Plan            7/21/2021           Outstanding
    COMPANY, LLC                       Financing with
    4751 WILSHIRE BLVD LOS             receivables
    ANGELES CA 90010
    NewCo c/o                          All assets owned      7/29/2021           Outstanding
    CORPORATION SERVICE                and/or acquired,
    COMPANY, AS                        including
    REPRESENTATIVE                     receivables
    P.O. BOX 2576
    UCCSPREP@CSCINFO.COM
    SPRINGFIELD IL 62708
    SAMSON HORUS                       All assets owned      9/15/2021           Outstanding
    90 JOHN STREET NEW YORK            and/or acquired,
    NY 10038                           including
                                       receivables
    CLOUDFUND LLC                      All assets owned      11/9/2021           Outstanding
    400 RELLA BLVD. SUITE 165-         and/or acquired,
    101 SUFFERN NY 10901               including
                                       receivables
    FRANKLIN CAPITAL                   All assets owned      12/13/2021          Paid
    MANAGEMENT, LLC                    and/or acquired,
    32300 NORTHWESTERN HWY. including
    FARMINGTON HILLS MI 48334 receivables
    C T CORPORATION SYSTEM,            All assets owned      12/23/2021          Paid
    AS REPRESENTATIVE                  and/or acquired,
    330 N BRAND BLVD, SUITE            including
    700; ATTN: SPRS GLENDALE           receivables
    CA 91203
    PAWN FUNDING                       All assets owned      1/5/2022            Paid
    2167 E 21ST ST, SUITE 252          and/or acquired,
    BROOKLYN NY 11229                  including
                                       receivables
    ARK CAPITAL                        All assets owned      1/5/2022            Paid
    131 CLARK STREET                   and/or acquired,
    HARTFORD CT 06120                  including
                                       receivables
    LCA BANK CORPORATION               Automotive            5/20/2022           Lease
    1441 W. UTE BLVD SUITE 250         Equipment


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       PARK CITY UT 84098
       On Deck                           All assets owned     7/14/2022           Paid
       CHTD COMPANY                      and/or acquired,
       P.O. BOX 2576 SPRINGFIELD IL      including
       62708                             receivables
       IOU                               All assets owned     9/13/2022           Outstanding
       CORPORATION SERVICE               and/or acquired,
       COMPANY, AS                       including
       REPRESENTATIVE                    receivables
       PO BOX 2576
       UCCSPREP@CSCINFO.COM
       SPRINGFIELD IL 62708




II.      Location of Debtors’ Operations and Whether Leased or Owned

       The Debtor’s main commercial property is located in St. Johns County, FL and leased by
Debtor. The Debtor has equipment and inventory located at various locations throughout Florida,
including locations in Central Florida, South Florida and the Panhandle region.

III.     Reasons for Filing Chapter 11

         The Chapter 11 was filed to restructure the secured debt of the Debtor’s commercial
equipment and inventory, as well as unsecured debt that was being directly deducted from the
Debtor’s accounts by MCA lenders. The Debtor was attempting to cure the arrears on the
secured claims, but was unable to improve the cash flow of the closely held business to the point
that it could avoid filing the Chapter 11.

IV.      List of Officers and Directors and Their Salaries and Benefits at Time of Filing and
         During the One Year Prior to Filing

        Mark Allen – Manager/Member (Salary application filed to match all Member’s pre
petition salary)

         Janette Allen – Member;

         Paul D. Trippy, Member;

         John Bolen, Member;

         Allison Walcutt; Member.




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V.     Debtor’s Annual Gross Revenues

       Upon information and belief, the Debtor’s gross revenues for the period ended December
31, 2020 were approximately $4,868,970.00. 2021 gross annual revenue was approximately
$7,768,757.00. 2022 gross revenue has been approximately $6,736,152.59 through the end of
August, 2022.


VI.    Amounts Owed to Various Classes of Creditors

       The Debtor’s secured various lenders were listed on Schedule D. Total secured debt
owed is approximately $3,879,000.00.

       The Debtor’s unsecured debt is currently listed as $1,738,949.00. The Debtor does not
owe a priority claim for indebtedness to the Florida DOR or IRS.


VII.   General Description and Approximate Value of the Debtor’s Current and Fixed
       Assets

        The Debtor’s assets consist primarily of the vehicle inventory and equipment secured by
the various secured lenders. The inventory and equipment and other property is believed to be
worth approximately $2,200,000.00 at this time as disclosed on Schedules A/B.

       The Debtor has a pending ERTC tax credit claim with the Internal Revenue Service for
$977,000.00 that is currently process with no timeline or expectation of the ultimate amount to
be awarded.


VIII. Number of Employees and Amount of Wages Owed as of Petition Date

       As of the Petition Date, the Debtor employed 150 direct employees.

IX.    Status of Debtor’s Payroll and Sales Tax Obligations

       The Debtor does not owe money for sales taxes or income taxes.

X.     Anticipated Emergency Relief Within 14 Days of Petition Date

        Motion to Allow Use of Cash Collateral, Motion to Reject various leases and for Officer
Salary to be filed immediately.




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Submitted this 23rd day of September, 2022

                                             LAW OFFICES OF MICKLER & MICKLER, LLP

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                                             Counsel for the Debtor


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was furnished to the United States
Trustee and all interested parties by filing a copy in the Court’s CM/ECF system this _23__ day
of September, 2022.


                                                    _/s/ Bryan K. Mickler_________________
                                                    Attorney




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